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12    Attorneys for Plaintiffs

13

14                                UNITED STATES DISTRICT COURT

15                                          DISTRICT OF NEVADA

16
     ALICIA INES MOYA GARAY, JUAN                  Case No. 2:20-cv-00119-GMN-EJY
17   JAIME LOPEZ-JIMENEZ, and
     ARRIBA LAS VEGAS WORKER                       STIPULATION AND [PROPOSED] ORDER
18   CENTER,                                       TO FILE SECOND AMENDED COMPLAINT

19                          Plaintiffs,

20          vs.

21   CITY OF LAS VEGAS, a municipality;
     MICHELE FREEMAN, in her official
22   capacity as City of Las Vegas Chief of
     Department of Public Safety;
23   BANANTO SMITH, in his official
     capacity as Deputy Chief of Detention
24   Services; DOES 1 through 25, inclusive,

25                          Defendants.

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     STIPULATION AND ORDER TO FILE SECOND                        CASE NO. 2:20-CV-00119-GMN-EJY
     AMENDED COMPLAINT
     Case 2:20-cv-00119-GMN-EJY Document 43 Filed 12/28/20 Page 2 of 3


                   STIPULATION AND [PROPOSED] ORDER TO FILE SECOND
 1                               AMENDED COMPLAINT
 2
            Plaintiffs Alicia Ines Moya Garay, Juan Jaime Lopez-Jimenez, and Arriba Las Vegas
 3
     Worker Center (“Plaintiffs”) and Defendants City of Las Vegas, Michele Freeman, and Bananto
 4
     Smith (“Defendants” and, together with Plaintiffs, the “Parties”) hereby stipulate and agree as
 5
     follows:
 6
            WHEREAS, pursuant to Federal Rule of Civil Procedure 15(a)(2), LR 7-1, and LR IA 6-
 7
     2, Plaintiffs have requested that Defendants consent to Plaintiffs’ filing of a second amended
 8
     complaint, a copy of which is attached hereto as Exhibit A;
 9
            WHEREAS, solely to conserve the Parties’ and judicial resources, Defendants consent to
10
     the filing of the second amended complaint;
11
            WHEREAS, by entering into this stipulation, Defendants take no position as to the merits
12
     or substance of the claims alleged in the second amended complaint. Defendants hereby
13
     expressly reserve any and all rights, argument or defenses they have with respect to responding to
14
     the second amended complaint as well as the claims asserted therein.
15
            Accordingly, it is hereby stipulated and agreed that:
16
            1.      Plaintiffs may file the proposed second amended complaint attached as Exhibit A
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                    hereto.
18
            2.      The second amended complaint shall be deemed filed and served once filed
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                    through the Court’s ECF System.
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     STIPULATION AND [PROPOSED] ORDER TO FILE
     SECOND AMENDED COMPLAINT
                                                      1             CASE NO. 2:20-CV-00119-GMN-EJY
     Case 2:20-cv-00119-GMN-EJY Document 43 Filed 12/28/20 Page 3 of 3



 1          3.      Defendants shall respond to the second amended complaint—by answer, motion or

 2                  otherwise—no later than thirty (30) days after the Court enters the order granting

 3                  the stipulation to file the second amended complaint.

 4

 5   Dated: December 28, 2020

 6
     MEXICAN AMERICAN LEGAL DEFENSE                              BRYAN SCOTT
 7   AND EDUCATIONAL FUND                                        City Attorney
 8
     By: /s/ Adrian Hernandez_                                   By: /s/_Seth T. Floyd_
 9   Belinda Escobosa Helzer                                     Deputy City Attorney
     Adrian Hernandez                                            Nevada Bar No. 11959
10   Ernest Herrera                                              Philip R. Byrnes
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18
     Attorneys for Plaintiffs
19

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                                                      IT IS SO ORDERED:
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24
                                                      _____________________________________
25                                                    UNITED STATES MAGISTRATE JUDGE
26                                                    DATED: December 28, 2020
27

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     STIPULATION AND [PROPOSED] ORDER TO FILE
     SECOND AMENDED COMPLAINT
                                                     2              CASE NO. 2:20-CV-00119-GMN-EJY
